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                                                                               .. Rome

                IN THE UNITED STATES DISTRICT COURT     FEB 25
               FOR THE NORTHERN DISTRICT OF GEORGIA            . 20
                           ROME DIVISION           JAMES N. Hkr
                                                    By:          EN, Cler{(! :'
JOSE VELASQUEZ,                )                                 DsPUty,-,*, j ;'
MARIA I. ROLDOS and	           )
PAUL E. DYER,	                 )
                                       )
        Plaintiffs,	                   )
                                       )     Civil Aoi:ion File No.
        v.	                            )     No.

                                       )

SOUTHERN GROUP, LLC, SOUTHERN )

REAL ESTATE OF TENNESSEE, LLC,)

TRAVIS SHIELDS, IN HIS         )

INDIVIDUAL CAPACITY AND D/B/A )

SOUTHE~ REAL ESTATE, SOUTHERN)

REAL ESTATE, LLC AND MORTGAGE )

PAYMENT SERVICES, LLC,         )

JOSHUA DOBSON, IN HIS          )

INDIVIDUAL CAPACITY AND D/B/A )

SOUTHERN REAL ESTATE, SOUTHERN)

REAL ESTATE, LLC AND MORTGAGE)

PAYMENT SERVICES, LLC,         )

THOMAS DOBSON, IN HIS          )

INDIVIDUAL CAPACITY AND D/B/A ,)

SOUTHERN REAL ESTATE, SOUTHERN)

REAL ESTATE, LLC AND MORTGAGE )

PAYMENT SERVICES, LLC,         )

STEVEN BOSSON, RODNEY BRADLEY,)

THE HAISTEN GROUP, INC.,       )

FARM CREDIT SERVICES OF MID- )

AMERICA, FLeA, SOUTHERN        )

MOUNTAIN RESORTS, LLC, and     )

WARRANTY TITLE INSURANCE       )

COMPANY, INC.,                 )

                                       )
        Defendani:s.	                  )

---------------)
                                     COMPLAINT

        COME NOW Plaintiffs Jose Velasquez           (hereinafter,     "Plaintiff

Jose") /      Maria   I.   Roldos   (hereinafter,    "Plaintiff   Isabel")          and

Paul     E.    Dyer    (hereinafter,    nPlaintiff    Paul")   and      file       this
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                                                                                            ·
                                                                                                 ,   "
                                                                                                         .


Complaint     against        the    Defendants          named    herein.        In    support            of

said Complaint, Plaintiffs show this Court the following:

                       PARTIES, JURISDICTION, AND VENUE

                                                1.

     Plaintiff        Jose    is        an   individual       and   resident         of   Decatur,

DeKalb County, Georgia.

                                                2.

     Plaintiff Isabel is an individual and resident of Decatur,

DeKalb County, Georgia.

                                                3.

     Plaintiff Paul is an individual and resident of Miami-Dade

County, Florida.

                                                4.

     Venue     is    proper        in    this   Court        by virtue     of    LR 3.1 (B) (2),

NDGa., and 28 U.S.C.A. § 1391.

                                                5.

     This action involves matters arising under the laws of the

United    States,     so     this       Court   has     subject     matter       jurisdiction.

28 U.S.C.A. § 1331.

                                                6.

     Defendant        Southern           Group,        LLC     (hereinafter,          "Defendant

Southern Group")        is a Tennessee limited liability company ,                              with

headquarters        in Kimball,          Tennessee,      and is      registered with the

Georgia Secretary of State to transact business in Georgia.


                                                  2

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                                             7.


     Defendant       Southern      Group           may        be     served          through        its

registered agent,       Registered Agents Legal Services,                              LLC,   at 900

Old Roswell Lakes Parkway, Suite 310, Roswell, Georgia                                     30076.

                                             8.

     Defendant       Southern      Group           is        subject       to        the     personal

jurisdiction    of    this    Court     by       virtue        of    its    presence          in    the

State of Georgia.

                                             9.

     Defendant        Southern        Real          Estate           of     Tennessee,              LLC

(hereinafter,    "Defendant        Southern             Tennessee")             is    a    Tennessee

limited   liability          company,        with            headquarters            in      Kimball,

Tennessee, and is registered with the Georgia Secretary of State

to transact business in Georgia.

                                         10.

     Defendant       Southern    Tennessee              may     be     served         through       its

registered agent,      Registered Agents Legal Services,                              LLC,    at 900

Old Roswell Lakes Parkway, Suite 310, Roswell, Georgia                                     30076.

                                         11.

     Defendant       Southern    Tennessee              is    subject       to       the    personal

jurisdiction    of    this    Court     by       virtue        of    its    presence          in    the

State of Georgia.




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                                        12.


      Defendant Travis Shields          (hereinafter,       "Defendant Shields H   )



is an individual and resident of the State of Tennessee and may

be served at 1024 Water Front Place, Kimball, Tennessee 37347.

                                        13.

      Defendant      Shields   is   subj ect    to   the   personal   jurisdiction

of this Court by virtue of O.C.G.A.              §   9-10-91,   the Georgia Long

Arm Statute.

                                        14.

      Defendant       Joshua    Dobson         (hereinafter,     "Defendant     J.

Dobson H   )   is an individual and resident of the State of Tennessee

and may be served at 1009 Water Front Place,                  Kimball,   Tennessee

37347.

                                        15.

      Defendant J.      Dobson is subject to the personal jurisdiction

of this Court by virtue of O.C.G.A.              §   9-10-91,   the Georgia Long

Arm Statute.

                                        16.

      Defendant       Thomas    Dobson         (hereinafter,     "Defendant     T.

Dobson H   )   is an individual and resident of the State of Tennessee

and may be served at 1020 Water Front Place,                  Kimball,   Tennessee

37347.




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                                              17.


      Defendant T.      Dobson is subject to the personal jurisdiction

of this Court by virtue of O.C.G.A.                      §    9-10-91,    the Georgia Long

Arm Statute.

                                              18.

      Defendants Shields,         J.        Dobson and T.           Dobson are the owners

of   and   do   business   as    Southern             Real    Estate,     LLC and Mortgage

Payment    Services,     LLC,    both        of       which   purport     to    be   a    limited

liability companies with headquarters in Kimball,                              Tennessee, but

which do not appear to be registered with either the Tennessee

or the Georgia Secretaries of State.

                                              19.

      Defendants       Shields,        J.     Dobson          and    T.   Dobson         also   do

business as Southern Real Estate, an unidentified entity.

                                              20.

      Defendant     Steven      Bosson        (hereinafter,           "Defendant         Bosson")

is an individual and resident of the State of Florida and may be

served at 2975 NE 190 Street, #301, Miami, Florida 33180.

                                              21.

      Defendant Bosson is subject to the personal jurisdiction of

this Court by virtue of O.C.G.A. § 9-10-91,                          the Georgia Long Arm

Statute.




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                                            22.


      Defendant Rodney Bradley              (hereinafter,           "Defendant Bradley")

is an individual and resident of the State of Tennessee and may

be served at 509 Young Avenue, Chattanooga, Tennessee 37405.

                                            23.

      Defendant Bradley is               subject to the personal                jurisdiction

of this Court by virtue of O.C.G.A.                   §    9-10-91,        the Georgia Long

Arm Statute.

                                            24.

      Defendant The Haisten Group,                 Inc.     (hereinafter,         "Defendant

Haisten")    is a Tennessee corporation,                  and may be served at its

principal     office      of      6005     Century        Oaks      Drive,      Chattanooga,

Tennessee     37416.

                                            25.

      Defendant Haisten is subject to the personal                              jurisdiction

of this Court by virtue of O.C.G.A.                  §    9-10-91,         the Georgia Long

Arm Statute.

                                            26.

      Defendant      Farm      Credit     Services        of     Mid-America,          FLCA,   a

federal land credit association                   (hereinafter,          "Defendant FCS"),

may   be    served   at     its    principal        address         of   1601    UPS    Drive,

Louisville,     Kentucky           40223,        copied        to    the     United     States

attorney's office.




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                                             27.


      Defendant       FCS    is   subj ect      to    the     personal     jurisdiction of

this Court by virtue of O.C.G.A. § 9-10-91, the Georgia Long Arm

Statute.

                                             28.

      Defendant       Southern        Mountain         Resorts,      LLC        (hereinafter,

"Defendant        SMR"i     together       with        Defendants        Southern       Group,

Southern Tennessee,          Shields,      J.       Dobson,    T.   Dobson and Bradley,

collectively,        the    "Southern      Group       Defendants")        is    a   Tennessee

limited      liability        company,       with       headquarters            in    Kimball,

Tennessee,       and is registered with the Georgia Secretary of State

to transact business in Georgia.

                                             29.

      Defendant SMR may be served through its                         registered agent,

Registered Agents,          LTD.,    at 1201 W Peachtree Street NW, Atlanta,

Georgia     30309.

                                             30.

      Defendant      SMR    is    subj ect      to   the    personal       jurisdiction of

this Court by virtue of its presence in the State of Georgia.

                                             31.

      Defendant           Warranty        Title        Insurance           Company,       Inc.

(hereinafter,       "Defendant Warranty")              is a     Tennessee corporation,

and   may   be    served     at     its   principal         office    of    2401     Memorial

Boulevard, Springfield, Tennessee                    37172.



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                                     32.


     Defendant Warranty is       subject to the personal                    jurisdiction

of this Court by virtue of O.C.G.A.             §    9-10-91,       the Georgia Long

Arm Statute.

                                     33.


     Defendants are joint tortfeasors.


                           STATEMENT OF FACTS

                                     34.

     Plaintiffs incorporate Paragraphs 1-33 as if fully restated

herein.

                                     35.

     Plaintiffs    were    approached          by        Defendant       Bosson   about

purchasing property at     The     Preserve         at    Rising     Fawn    located    in

Rising Fawn, Georgia (hereinafter, the "Development").

                                     36.

     Defendant    Bosson   acted    as     a   recruiter           for   the   Southern

Group Defendants, recruiting investors for the Development.

                                     37.

     Defendant    Bosson was   acting on his               own   behalf and at         the

behest of the Southern Group Defendants.

                                     38.

     Defendant Bosson is not a licensed realtor in the State of

Georgia.




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                                                    39.


       Defendant         Bosson    and        the       Southern          Group    Defendants          knew

that      Plaintiffs       would     and        did           rely    on        Defendant        Bosson's

representations           about    the        Development            in     deciding      whether       to

purchase a lot within the Development.

                                                    40.

       Defendant         Bosson     persuaded                 Plaintiffs           and    others        to

purchase property within the Development.

                                                41.

       Defendant      Bosson       and    one           or    more    of     the    Southern       Group

Defendants represented that any properties purchased within the

Development would increase in value after purchase.

                                                42.

       Defendant      Bosson       and    one           or    more    of     the    Southern       Group

Defendants        represented       that       the           properties         would    increase       in

val ue,     in   part,    because        of    amenities             to    be     completed       in   the

Development prior to May, 2009.

                                                43.

       Said      amenities    included          but           were    not       limited     to    roads,

clubhouses and lakes.

                                                44.

       Plaintiffs were shown maps and plans of the amenities to be

completed within the Development.




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                                                45.


      Upon     information          and     belief,          not     all      of     the     promised

amenities were completed as promised.

                                                46.

      Thus,      Plaintiffs          believed          that        they       were         purchasing

property for investment purposes.

                                                47.

      Defendant       Bo s s ori   has    admitted that            he   obtained purchasers

for lots in the Development.

                                                48.

      Defendant Eosson was paid $10,000.00 by one or more of the

Southern Group        Defendants          for    each    lot       in   the    Development         for

which he recruited a purchaser and the purchaser actually closed

on the property.

                                                49.

      When     Plaintiffs          Jose   and     Isabel       visited         the       Development

prior to purchasing any property                       located therein,              an agent       of

the Southern Group Defendants told them that there were two ways

to   get   a   loan    to     purchase      property          in     the   Development:            the

~conventional     wayH and an            ~option      way.H

                                                50.

      Plaintiffs        Jose       and    Isabel       did     not      have       any     money    to

contribute as a down payment towards the purchase or financing

of property within the Development.



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                                              51.


        Defendant       Bosson,       one     or     more   of     the    Southern           Group

Defendants       (including but not limited to Defendant Bradley)                              and

Defendant FCS,          through its employee Donald Bowlin                     (hereinafter,

"Bowlin"),       arranged a 100% financing plan for purchasers within

the Development,             which included a loan from FCS and an "option

transaction" with Defendant Southern Group.

                                              52.

        Said    Defendants       arranged          such   financing      plan        to   induce

Plaintiffs        and        others    to      purchase          property       within        the

Development.

                                              53.

        Defendant    J.       Dobson told      Plaintiffs         Jose   and    Isabel       that

there    were     three       categories      of     lots   available          for    purchase

within the Development:               type A, type B and type C.

                                              54.

        Defendant       J.    Dobson    represented         to    Plaintiffs          Jose    and

Isabel    that    type       A lots    were    the most      expensive because               they

would have a better location and views,                          type B lots were less

expensive because they would have a less desirable location and

views and type C lot were the least expensive because they would

have the least desirable location and views.




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                                               55.


      Defendant       J.    Dobson told Plaintiffs                 Jose    and Isabel that

all type C lots had a set purchase price of $175,000.00.

                                               56.

      To induce Plaintiffs Jose and Isabel to purchase property

wi thin the       Development,    Defendant J.               Dobson told them that he

would authorize their purchase of a type B lot                             (better location

and views) at the type C purchase price ($175,000.00).

                                               57.

      To    further    induce    Plaintiffs            Jose and Isabel            to purchase

property within the Development, Defendants Bosson and J. Dobson

told Plaintiffs Jose and Isabel that they would not have to make

any payments for three years.

                                             58.

      Prior to purchase, Defendant FCS required an appraisal from

Defendant The Haisten Group, with whom Defendant FCS had a long­

standing relationship.

                                               59.

      On     or     about     March     5,           2008,     John       Timothy        Haralson

(hereinafter,       "Haralson"),      an        appraiser          employed   by     Defendant

The   Haisten      Group,    rendered      a     written       appraisal          (hereinafter,

the   "Lot    6    Appraisal     Report")            for     Lot    6,    Phase     10    of     the

Preserve,    Rising Fawn, Georgia                30738       ("Lot 6")     in the scope of

his   employment      by     Defendant         The     Haisten       Group,   which        Lot     6


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Appraisal Report stated that it was prepared for client Southern

Home Mortgage, an affiliate of the Southern Group Defendants.

                                                 60.

       On    or     about    March    13,    2008,       Haralson        rendered      a    written

appraisal         (hereinafter,       the    "Lot      19 Appraisal Report")                for Lot

19,    Phase 10 of the Preserve,                 Rising Fawn,          Georgia       30738       ("Lot

19")    in    the    scope    of    his     employment         by   Defendant        The    Haisten

Group, which Lot 19 Appraisal Report stated that it was prepared

for client Southern Home Mortgage,                       an affiliate of the Southern

Group Defendants.

                                                 61.

       Defendant The Haisten Group and Haralson each knew that the

purchase price for Lots 6 and 19 was $175,000.00.

                                                 62.

       Haralson,       in the scope of his employment by Defendant The

Haisten Group, appraised Lot 6 and Lot 19 for $175,000.00 each.

                                                 63.

       All    comparables          used     in    each    of     the     Lot    6    and    Lot    19

Appraisal Reports were for lots located within the Development.

                                                 64.

       Upon       information        and    belief,       most      or    all       lots    in    the

Development         that    were   sold,     no matter the             size,    were       sold for

$175,000.00.




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                                                65.


       The sales prices of lots in the Development,                          including Lot

6 and Lot 19, were artificially set at $175,000.00.

                                                66.

       In    reliance      upon     the        Lot     6     Appraisal    Report      and     the

subsequent        affirmations          and     ratification         by   Defendants         FCS,

Bosson      and   the    Southern       Group       Defendants,      Plaintiffs       Jose    and

Isabel      purchased      Lot      6     from        Defendant      Southern      Group      for

$175,000.00.

                                                67.

       In    reliance      upon     the       Lot      19    Appraisal    Report      and     the

subsequent        affirmations          and     ratification         by   Defendants         FCS,

Bosson      and    the     Southern           Group         Defendants,   Plaintiff          Paul

purchased Lot 19 from Defendant Southern Group for $175,000.00.

                                                68.

       No    Defendant      ever        disclosed           any   information    to    any     of

Plaintiffs concerning the true values of either Lot 6 or Lot 19.

                                                69.

       Defendant Southern Group required that                         Plaintiffs purchase

Lots   6 and 19,        respectively,          in their own name using their own

credit histories.

                                                70.

       Defendant        Southern        Group         had     "preferred"       lenders      and

directed Plaintiffs to use Defendant FCS.



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                                              71.


       Plaintiffs       Jose    and     Isabel         completed      a     loan       application

with Defendant FCS,            at the offices of Defendant Southern Group,

for the purchase of a lot within the Development.

                                              72.

       Defendant Warranty acted as                     settlement      agent with          respect

to the loans from FCS to Plaintiffs.

         CLOSING TRANSACTIONS WITH PLAINTIFFS JOSE AND ISABEL

                                              73.

       Defendant      Bosson     and    one       or    more    of    the    Southern          Group

Defendants         invited     Plaintiffs         Jose    and       Isabel    to       visit     the

Development.

                                              74.

       While visiting the Development,                    Plaintiffs Jose and Isabel

completed      a    financial     form       in     order      to    obtain        a    loan    from

Defendant FCS,        and gave said financial form to Defendant Bosson,

who    was   with    Plaintiffs       Jose    and Isabel            when they visited the

Development.

                                              75.

       Plaintiffs      Jose    and     Isabel       also disclosed           certain      further

financial     information        to    Defendant         Bosson,      both    orally and          in

wri ting,    in     connection       with    obtaining         of    loan    from       Defendant

FCS.




                                              15
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                                            76.


        Defendant      Bosson    then     conveyed       the    loan     application             and

financial      information       to     Defendant      FCS     or     Defendant          Southern

Group, or both.

                                           77.

        Defendant Bosson mailed to Plaintiffs Jose and Isabel,                                   at

their Georgia residence, the closing documents for the loan from

Defendant     FCS to        Plaintiffs     Jose    and    Isabel        (the       "Lot      6   FCS

Loan") .

                                           78.

        Defendant Bosson indicated on said closing documents where

Plaintiffs Jose and Isabel were to sign or initial and directed

them    to   mail    the    closing     documents        to    Southern        Real         Estate,

Attn:      Defendant       Rod   Bradley    at     1030        Main    Street,          Kimball,

Tennessee 37347.

                                           79.

        Said closing documents           included,       inter alia,           a       Promissory

Note/Loan      Agreement         (the    "Lot      6   Senior         Note") ,          a     Basic

Membership     and     Lending     Relationship        Agreement         and       a    Security

Deed (the "Lot 6 Senior Security Deed"), all of which were dated

March 14, 2008.

                                           80.

        The principal amount payable under the Lot 6 Senior Note is

recited as $148,750.00.


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                                        81.


     The     Lot   6   Senior   Security       Deed    is    signed     by     Defendant

Bosson and Patty Martin         (hereinafter,         "Martin"),       an employee of

Defendant Warranty, as witnesses and is signed by Candy Patel as

a notary.

                                        82.

     Neither Defendant Bosson,          Martin nor Candy Patel witnessed

Plaintiffs    Jose     and   Isabel's   signatures          to   the    Lot    6   Senior

Security Deed.

                                        83.

     Martin signed the Lot 6 Senior Security Deed as                          "Closing

Agent," and in so signing, represented as follows:

    In closing the above loan              I reviewed with and
    explained to the Borrower (s) the terms and provisions of
    the Deed to Secure Debt and particularly the provisions
    thereof authorizing the Lender to sell the secured property
    by a nonjudicial foreclosure under a power of sale,
    together with    the   "Waiver of Borrower's    Rights"  and
    informed the Borrower(s) of Borrower's rights under the
    Constitution of the State of Georgia and the Constitution
    of the United States to notice and a judicial hearing prior
    to   such  foreclosure   in   the  absence  of   a  knowing,
    intentional and willing contractual waiver by Borrower (s)
    of   Borrower's  rights.     After  said review with     and
    explanation to Borrower (s), Borrower (s) executed the Deed
    to Secure Debt and "Waiver of Borrower's Rights." Based on
    said review with and explanation to the Borrower(s), it is
    my opinion that Borrower(s) knowingly, intentionally and
    willingly executed the waiver of Borrower's constitutional
    rights to notice and judicial hearing prior to any such
    nonjudicial foreclosure.




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                                            84.


      Neither Plaintiff Jose nor Plaintiff Isabel has ever spoken

to or corresponded with Martin.

                                            85.

      Defendant FCS falsely inflated Plaintiffs Jose and Isabel's

income when documenting the Lot 6 FCS Loan.

                                           86.

      Defendant        Bosson     later     mailed         to    Plaintiffs          Jose      and

Isabel,      at   their   Georgia    residence,           documents      for    an       "option"

transaction with          Defendant Southern Group                (the   "Lot       6 Southern

Transaction") .

                                           87.

      At that time,         Defendant Bosson stated,                "The escrow account

will pay the monthly payments."

                                           88.

      Defendant Bosson indicated on the closing documents for the

Lot 6 Southern Transaction where Plaintiffs Jose and Isabel were

to   sign,    witness     and    notarize     and        directed     them     to    mail      the

documents     to Southern Real        Estate,        Attn:       Defendant      Rod Bradley

at 1030 Main Street, Kimball, Tennessee 37347.

                                           89.

      The documents for the Lot 6 Southern Transaction included,

inter alia,        a   Promissory    Note         (the    "Lot    6   Junior        Note") ,     a

Second    Real     Estate       Mortgage     (hereafter,          the    "Lot        6    Junior



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Securi ty   Deed"),      an    Option       Agreement        (the    "Lot     6     Option

Agreement" )      and    an    Escrow       Agreement       Addendum        for     Option

Agreement   (the "Lot 6 Escrow Agreement"),                 all of which are dated

March 19, 2008.

                                           90.

     The principal amount payable under the Lot 6 Junior Note is

recited as $34,600.00.

                                           91.

     Someone   executed the          Lot   6 Junior Note,           the Lot       6 Option

Agreement   and    the   Lot    6    Junior      Security    Deed    as   witness      for

Plaintiffs Jose and Isabel,           however,      no one witnessed Plaintiffs

Jose and Isabel sign same.

                                           92.

     Under the Lot       6 Option Agreement,          Defendant Southern Group

paid $30,450.00 to Plaintiffs Jose and Isabel in exchange for an

option given to Defendant Southern Group to repurchase Lot 6.

                                           93.

     The $30,450.00 was to be used with the Lot                        6 FCS Loan to

cover the purchase price of Lot 6.

                                           94.

     Pursuant to the Lot            6 Escrow Agreement,         Defendant Southern

Group was to deposit $44,171.00 into an escrow account.                           The Lot

6 Escrow Agreement states as follows:




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        Said   [$44,171.00]  shall be used to pay the mortgage
        payments,    property    owner's  association   fees    and
        assessments, property taxes and any other costs or expenses
        related to the real property that is the subj ect of the
        underlying Option Agreement as directed by [Plaintiffs Jose
        and Isabel].

                                              95.

        Lot   6    is   the   real   property       that   is   the    subj ect   of   the

underlying Option Agreement.

                                              96.

        The Lot 6 Escrow Agreement further states:

        Unless directed otherwise, in writing, by the [Plaintiffs
        Jose and Isabel],   [Defendant Southern Group] shall cause
        [Plaintiffs Jose and Isabel's] monthly mortgage payments,
        property tax bills and property owner's association fees
        and assessments to be paid directly from said [$44,171.00].



                                              97.

        Defendant       Southern Group breached their obligation to                    pay

or   ensure       payment     of   the   mortgage    payments,        property    owner's

association fees and assessments and property taxes with respect

to Lot 6.

                                              98.

        With respect        to the documents        executed in connection with

the Lot 6 FCS Loan,           Plaintiffs Jose and Isabel never met with or

spoke    to   a    bank   official,      an    attorney    or   a   representative      of

Defendant Warranty prior to execution of same.




                                              20

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                                                     99.


        With       respect       to the documents               executed in connection with

the Lot 6 Southern Transaction,                         Plaintiffs Jose and Isabel never

met   with     or     spoke       to    any attorney or               a    representative         of    any

settlement agent prior to execution of same.

                                                   100.

        Plaintiffs Jose and Isabel only ever spoke with Defendant

Bosson       and     one    or    more       of   the      Southern         Group       Defendants,      in

connection with both the Lot                       6 FCS Loan closing and the Lot                         6

Southern Transaction, prior to the closings.

                                                  101.

        Thus, no attorney or anyone else was ever present to advise

or    explain        to    Plaintiffs         Jose        and   Isabel          the    content    of    the

documents they were directed to sign.

                                                  102.

        Plaintiffs         Jose        and   Isabel        trusted         Defendants       Bosson      and

FCS    and     the    Southern          Group     Defendants              and    believed     that      the

documents they were directed to sign were legitimate.

                                                  103.

        After the closing of the Lot 6 FCS Loan,                                      as Defendant FCS

sent monthly loan statements to Plaintiffs Jose and Isabel,                                            they

would notify Defendant Bradley, who was employed by the Southern

Group    Defendants,             and    request         that     he       make    payment    on    their

behalf from their escrow account.



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                                                104.


        Defendant         Bradley advised            Plaintiffs       Jose    and    Isabel      that

they did not need to notify him as they received monthly loan

statements because he was aware of the amount that needed to be

paid each month.

                        CLOSING TRANSACTION WITH PLAINTIFF PAUL

                                                105.

        On    or    about    March      26,    2009,        Plaintiff       Paul    went    to       the

Florida        residence       of      Defendant           Bosson     and     signed        various

documents          in     Defendant     Bosson's           home     office    that       had     been

provided       to       Defendant     Bosson        by     either    one     of    the     Southern

Defendants or Defendant Warranty, or both.

                                                106.

        Only       Defendant       Bosson      was        present     when    Plaintiff          Paul

signed said documents.

                                                107.

        The    closing documents              for    the    loan    from     Defendant      FCS to

Plaintiff Paul for the purchase of Lot 19 included,                                  inter alia,

a   Promissory Note/Loan Agreement                        (the "Lot 19 Senior Note"),                  a

Basic    Membership          and      Lending         Relationship         Agreement,          and     a

Securi ty      Deed       (hereafter,     the       "Lot    19    Senior     Security      Deed"),

all dated March 26, 2008.




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                                                   108.


        The closing documents for the "option" transaction between

Plaintiff        Paul           and    Defendant          Southern      Group     (the     "Lot    19

Southern Transaction")                   included a         Promissory Note           (the "Lot 19

Junior       Note"),        a    Second     Real     Estate       Mortgage       (hereafter,      the

"Lot 19 Junior Security Deed"), an Option Agreement (the "Lot 19

Option Agreement")                and an Escrow Agreement Addendum for Option

Agreement       (the "Lot 19 Escrow Agreement"),                         all dated March 31,

2008.

                                                   109.

        The principal amount payable under the Lot 19 Senior Note

is recited as $148,750.00.

                                                   110.

        The    Lot     19       Senior      Security       Deed    is    signed       by   Defendant

Bosson and Martin as witnesses and is signed by Barbara M. Munne

as a notary.

                                                   111.

        Neither      Martin           nor    Barbara        M.    Munne        were    present    at

Defendant Bosson's home,                    nor did they witness                Plaintiff Paul's

signatures to the Lot 19 Senior Security Deed.

                                                   112.

        At    some   point,           Martin    signed the         Lot    19    Senior     Security

Deed    as     "Closing          Agent,"       and    in    so    signing,       represented      as

follows:


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       In closing the above loan              I reviewed with and
       explained to the Borrower (s) the terms and provisions of
       the Deed to Secure Debt and particularly the provisions
       thereof authorizing the Lender to sell the secured property
       by a nonjudicial foreclosure under a power of sale,
       together with the      "Waiver of Borrower's Rights"     and
       informed the Borrower(s) of Borrower's rights under the
       Constitution of the State of Georgia and the Constitution
       of the United States to notice and a judicial hearing prior
       to   such  foreclosure   in   the  absence   of  a  knowing,
       intentional and willing contractual waiver by Borrower (s)
       of Borrower's    rights.     After  said   review with and
       explanation to Borrower (s), Borrower (s) executed the Deed
       to Secure Debt and "Waiver of Borrower's Rights." Based on
       said review with and explanation to the Borrower(s), it is
       my opinion that Borrower(s) knowingly, intentionally and
       willingly executed the waiver of Borrower' s constitutional
       rights to notice and judicial hearing prior to any such
       nonjudicial foreclosure.

                                       113.

       Plaintiff    Paul   has   never    spoken     to   or   corresponded    with

Martin.

                                       114.

       Defendant FCS falsely inflated Plaintiff Paul's income when

documenting the Lot 19 FCS Loan.

                                       115.

       The principal amount payable under the Lot 19 Junior Note

is recited as $34,600.00.

                                       116.

       Under the Lot 19 Option Agreement, Defendant Southern Group

paid   $30,450.00    to    Plaintiff     Paul   in   exchange     for   an   option

given to Defendant Southern Group to repurchase Lot 19.




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                                            117.


      The $30,450.00 was to be used with the Lot 19 FCS Loan to

cover the purchase price of Lot 19.

                                            118.

      Pursuant to the Lot 19 Escrow Agreement,                   Defendant Southern

Group was to deposit $44,171.00 into an escrow account.                        The Lot

19 Escrow Agreement states as follows:

      Said    [$44,171.00]  shall be used to pay the mortgage
      payments,     property    owner's association   fees    and
      assessments, property taxes and any other costs or expenses
      related to the real property that is the subj ect of the
      underlying Option Agreement as directed by       [Plaintiff
      Paul] .


                                            119.

      Lot     19   is   the    real      property that   is   the    subject   of   the

underlying Lot 19 Option Agreement.

                                            120.

      The Lot 19 Escrow Agreement further states:

      Unless directed otherwise, in writing, by the [Plaintiff
      Paul], [Defendant Southern Group] shall cause [Plaintiff
      Paul's] monthly mortgage payments, property tax bills and
      property owner's association fees and assessments to be
      paid directly from said [$44,171.00].

                                            121.

      Defendant Southern Group breached their obligation to pay

or   ensure    payment        of   the    mortgage   payments,      property   owner's

association fees and assessments and property taxes with respect

to Lot 19.


                                             25

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                                        122.


       With respect to the document s                executed in connection with

the Lot 19 FCS Loan,       Plaintiff Paul never met with or spoke to a

bank   official,    an    attorney   or        a    representative     of   Defendant

Warranty, prior to execution of same.

                                      123.

       With respect to the documents executed in connection with

the Lot 19 Southern Transaction,                   Plaintiff Paul never met with

or spoke to any attorney or a representative of any settlement

agent, prior to execution of same.

                                      124.

       Plaintiff   Paul   only   ever     spoke        with   Defendant     Bosson   in

connection with both the Lot 19 FCS Loan and the Lot 19 Southern

Transaction, prior to the closings.

                                      125.

       Thus, no attorney or anyone else was ever present to advise

or explain to Plaintiff Paul the content of the documents he was

directed to sign.

                                      126.

       Plaintiff   Paul   trusted    Defendants         Bosson   and   FCS and the

Southern Group Defendants and believed that the documents he was

directed to sign were legitimate.




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                                          127.


     Defendant       FCS and      its    employee    Bowlin were          aware   of    and

endorsed the "option" scheme employed by Bosson and the Southern

Group Defendants, as described herein.

                                          128.

     "Southern        Real     Estate"     received    funds       at     closing      from

proceeds of each of the Lot 6 and Lot 19 FCS Loans for acting as

a real estate broker.

                                          129.

     In     that    context,     the    name    "Southern   Real        Estate"   was   an

alias for one or more of the Southern Group Defendants.

                                          130.

     As of April 10, 2009,              Defendants Shields,        J.    Dobson and T.

Dobson,     d/b/a    Mortgage     Payment       Services,   LLC,        represented     to

Plaintiffs Jose and Isabel that there was                   $31,201.46 remaining

of their escrow funds.

                                          131.

     As of April 10,           2009,    Defendants Shields,        J.    Dobson and T.

Dobson,     d/b/a    Mortgage     Payment       Services,   LLC,        represented     to

Plaintiff Paul that there was $31,563.63 remaining of his escrow

funds.




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                                     132.


     Presumably, payments were made from the escrow funds by one

or more of the Southern Group Defendants on behalf of Defendant

Southern Group.

                                     133.

     Defendant    Bradley managed       the    escrow   funds   on   behalf   of

Defendant Southern Group and Defendants Shields,                J.   Dobson and

T. Dobson, d/b/a Mortgage Payment Services, LLC.

                                     134.

     Beginning in May,      2009,    Defendant    FCS notified Plaintiffs

that payments on the Lot 6 and Lot 19 FCS Loans were no longer

current.

                                     135.

     Plaintiffs Jose and Isabel notified Defendant Bradley that

the May,   2009 payment had not been made.

                                     136.

     On June 19,    2009,   Plaintiff Isabel forwarded to             Defendant

Bradley via electronic mail the June,           2009,   loan statement from

Defendant FCS.

                                     137.

     Defendant    Rod   Bradley     replied,    "Thanks   for    sending   your

statement.   We will take care of it."




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                                              138.


      The     July,    2009     payments        to    Defendant       FCS    on    behalf    of

Plaintiffs were not timely made.

                                              139.

      No payments have been made on behalf of any Plaintiffs by

Defendant Southern Group or Defendants Shields, J. Dobson and T.

Dobson,     d/b/a Mortgage Payment Services,                   LLC,    to Defendant FCS

since the July, 2009 payment.

                                              140.

      Beginning with the Lot 19 FCS Loan payment to Defendant FCS

due   in    August,      2009,        Plaintiff        Paul    began       making       monthly

payments to Defendant FCS.

                                              141.

      After     Defendant        Southern       Group,        Defendants      Shields,       J.

Dobson and T.         Dobson,    d/b/a Mortgage Payment Services,                       LLC and

Defendant     Bradley,       stopped      making       payments       to    Defendant      FCS,

Plaintiff     Paul     spoke     with    an     employee      of   the      Southern      Group

Defendants,     who advised Plaintiff Paul that the reason payments

were not being made was because of "accounting issues."

                                           142.

      Plaintiff       Paul     also     spoke       with   Keren   Davies,        who    stated

that there were problems with accounting and procedures and that

Defendant     Southern Group would make good on                       the payments         that

had been missed.


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                                           143.


     Keren       Davies   also    told     Plaintiffs            Jose     and    Isabel        that

certain missed payments would be paid that never were paid.

                                           144.

     At    the     time     of    such     statements,           Keren         Davies        was    a

representative and employee of one or more of the Southern Group

Defendants.

                                           145.

     The amounts payable under the Lot 6 and Lot 19 Junior Notes

were presumably used to fund the escrow accounts established by

the Lot 6 and Lot 19 Escrow Agreements.

                                           146.

     Those amounts have been misappropriated, in part, by one or

more of the Southern Group Defendants.

                                           147.

     In September,        2009,    Plaintiffs Jose and Isabel went to the

office    of   Defendant     Southern Group                and met      with    Defendant          J.

Dobson,    who    advised    Plaintiffs             Jose   and   Isabel        that    he     would

"fix the situation."

                                          148.

     Defendant       J.     Dobson       was        referring        to   the         fact     that

Plaintiffs' loan payments had not been paid.




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                                       149.


        At   that meeting,    Defendant      J.    Dobson     told Plaintiffs    Jose

and Isabel that he was going to pay all of the overdue mortgage

payments within a week.

                                       150.

        He further stated that he was developing an exit strategy

and wanted to restructure all loans.

                                       151.

        Defendant Bosson stated to Plaintiffs on September 9, 2009:

        Josh Dobson.    . said that he will have the money and will
        pay the Sept. payment for everyone and will reimburse
        anyone who already made payments themselves.  He said once
        that's done he'll get the letters out to each customer
        saying that it was not the customer's fault the payments
        were late . .

                                       152.

        Defendant   Bosson    stated    to        Plaintiffs    on   September   20,

2009,    "[Defendant J.      Dobson]   said he       intends to get     everyone's

payments caught up,       fix everyone's credit, and keep the payments

current."

                                       153.

        John "JB" Mount      (hereinafter,        "Mount"),    an employee of the

Southern Group      Defendants,    told Plaintiff Isabel             on October 9,

2009,    through Defendant Bosson,        that Defendant J.          Dobson wanted

Mount to convey the following to Plaintiff Isabel:

        First, that he has been in ongoing negotiations with the
        lenders to obtain a leniency period.   This would be a



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     period where no payments are due and no further credit
     damage is done.     Josh says the negotiations were very
     promising and that he would know if this extension was
     given by early next week.   If the extension is not given
     then your situation will be remedied by no later than the
     middle of that following week.   The would be the 21 s t of
     October.

                                         154.

     On October 14, 2009, Mount, on behalf of one or more of the

Southern Group Defendants,            forwarded a form letter to Defendant

Bosson for dissemination to Defendant Bosson's "clients",                      which

are presumably those people whom Defendant Bosson recruited to

invest in the Development.

                                        155.

     That    form    letter     was     disseminated     to     Plaintiffs,      and

states, in part, as follows:

     The most recent effort has been the negotiation of a
     leniency period from the      lenders.   This would be a
     negotiated period of time in which payments are not due,
     the banks do not harass the clients any further, and no
     further damage is inflicted upon the clients' credit.  This
     period will give ample time for the payment allocation
     system to be restructured, customer files to be reviewed,
     and all necessary repairs to be made.     We have received
     posi ti ve feedback from all lenders and are confident all
     lenders will grant the required time.         If not, then
     Southern will make the situation right through other means.
     (Emphasis supplied.)

                                        156.

     Further,      the   form   letter     discusses    three    (3)   bogus    exit

strategies   for    getting     out    from     underneath    properties   in    the




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Development       and     the        loans      borrowed          in    connection          with    the

purchase of same.

                                                157.

        The    form     letter        states         as     follows:          "Exit        Option    1:

Southern       continues   to make            your payments            for    the        agreed time.

Once    the    agreement        is    over,      you        simply     keep        making    payments

until the land sells."

                                                158.

        With    the     three         (3 )     exit         strategies         disseminated         to

Plaintiffs,       the    Southern            Group        Defendants     were       attempting      to

further defraud Plaintiffs and others.

                                                159.

        On November 8,      2009,        Defendant Bosson stated to Plaintiffs,

"[Defendant J.        Dobson]        came to Miami in early September and said

to everyone's face that he would bring everyone's loans current

by the end of September in accordance with his obligation and he

didn't do it."

                                                160.

        Defendant       Southern        Group's            last    payment          on     behalf   of

Plaintiffs to The          Preserve Property Owners'                     Association was on

April 1, 2010.

                                                161.

        Plaintiffs have discovered that neither Defendant Southern

Group    nor    Defendants       Shields,            J.    Dobson      and    T.     Dobson,    d/b/a



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Mortgage Payment Services, LLC,                  ever paid any property taxes for

Lots 6 and 19.

                                             162.

      As   a    result,       the    Dade    County     Tax     Commissioner      filed    tax

liens against Lots 6 and 19 for tax year 2008.

                                             163.

      James         Johnson     purchased            from     the     Dade      County     Tax

Commissioner the tax liens filed against Lots 6 and 19.

                                             164.

      Because        neither        Defendant        Southern    Group    nor    Defendants

Shields,       J.     Dobson    and     T.      Dobson,       d/b/a    Mortgage        Payment

Services, LLC,        has paid the property taxes for Lots 6 and 19 for

tax year 2009, said taxes are currently past due.

                                             165.

      Defendants Southern Group and Defendants Shields,                           J.    Dobson

and T. Dobson, d/b/a Mortgage Payment Services, LLC,                            continue to

not pay the property taxes for Lots 6 and 19.

                                             166.

      Since         Plaintiffs'       purchase         of    their    respective         Lots,

Plaintiffs have determined that the Lots are each valued at less

than the amounts stated in the respective Appraisal Reports.

                                             167.

      As   a   result     of the purchase of their                  respective Lots        and

the   Defendants'         actions        described          herein,      Plaintiffs       have



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suffered     damages     while    Defendants     have      experienced        financial

gain.

                                       168.

        Plaintiffs' credit scores have been impacted and damaged as

a result of Defendant Southern Group's breach of the Lot 6 and

Lot 19 Escrow Agreements.

                                    COUNT ONE:


     FEDERAL RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT,


                         18 U.S.C.A. § 1961, et.        seq.


                              (as to all Defendants)


                                       169.

        Plaintiffs      incorporate    Paragraphs          1-168   as     if         fully

restated herein.

                                       170.

        All of the Defendants are associated-in-fact and constitute

an enterprise which is engaged in,               or the activities of which

affect, interstate commerce.

                                       171.

        Defendants   conspired to      and    have    received     income      derived

from a    pattern of      racketeering activity,           and have     used and/or

invested such income or a part thereof,               or the proceeds of such

income,    in acquisition of any interest in,               or the establishment

or   operation    of,    an   enterprise      which   is    engaged     in,     or    the

activities of which affect, interstate commerce.


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                                             172.


     Defendants          conspired     to        and     have,     through       a    pattern          of

racketeering activity,             acquired and/or maintained an interest in

and/or     control       of   an   enterprise           which    is     engaged       in,       or    the

activities of which affect, interstate commerce.

                                             173.

     Defendants are employed by or associated with an enterprise

engaged     in,     or    the      activities           of    which     affect,        interstate

commerce,         and     conspired         to         and      have      conducted             and/or

participated in the conduct of such enterprise's affairs through

a pattern of racketeering activity.

                                             174.

     Defendants'          racketeering       activities            include      commission             of

the following:

     a.	     Federal mail          fraud in violation of 18                    u. s. c.     §    1341;

             and

     b.	     Federal bank fraud in violation of 18                           u.s.c.    §    1344.

                                             175.

     Defendant          Bosson     committed           mail     fraud    on    behalf        of       the

enterprise when he mailed closing documents                             to    Plaintiffs Jose

and Isabel.

                                             176.

     Plaintiffs          believe      that            their     closing       documents              were

thereafter sent through the mail one or more times,                                   and expect



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to determine which of the                  Defendants     sent the documents     where

during discovery.

                                             177.

     All of Defendants'              actions up until and including the time

of the     closing of the            loans    from   Defendant   FCS to   Plaintiffs

were part      of   a   scheme       to   knowingly defraud      Defendant     FCS,   in

violation of 18 U.S.C.           §   1344.

                                             178.

     Plaintiffs         have     suffered       damages     proximately   caused      by

Defendants' actions.

                                             179.

     Defendants' actions showed such willful misconduct, malice,

fraud,    wantonness,     oppression,         or the entire want of care as to

raise the presumption of conscious indifference to consequences

and a specific intent to cause harm.

                                          COUNT TWO:


   GEORGIA RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT,


                         O.C.G.A. § 16-14-1, et. seq.


                               (as to all Defendants)


                                             180.

     Plaintiffs         incorporate          Paragraphs      1-179   as   if     fully

restated herein.




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                                           181.


      Defendants,         through    a    pattern         of       racketeering            activity

and/ or   proceeds   derived        therefrom,          have       conspired     to    and have

actually       acquired     and/or       maintained           an     interest         in       and/or

control of an enterprise,             real     property and personal property,

including money.

                                           182.

      Defendants      are      employed            by    or        associated         with       the

enterprise referenced in Count One above and have conspired to

and   have      actually      conducted            and/or        participated          in       such

enterprise through a pattern of racketeering activity.

                                           183.

      Defendants'     racketeering         activities              include   commission           of

the following:

      •	 Residential mortgage fraud in violation of O.C.G.A. § 16­

          8-102;

      •	 Theft by deception in violation of O.C.G.A.                         §   16-8-3;

      •	 The    following     conduct      defined          as     racketeering            acti vi ty

          under 18 U.S.C.      §    1961 (1) (B):

          o	 Federal mail      fraud in violation of 18 U. S. C.                           §   1341;

             and

          o	 Federal bank fraud in violation of 18 U.S.C. § 1344.




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                                                184.


     Defendant        Bosson        committed          mail     fraud   on   behalf    of     the

enterprise when he mailed closing documents to Plaintiffs Jose

and Isabel.

                                                185.

     Plaintiffs        believe           that         their     closing      documents       were

thereafter sent through the mail one or more times,                               and expect

to determine which of the                 Defendants            sent the documents where

during discovery.

                                                186.

     All of Defendants'              actions up until and including the time

of the     closing of     the       loans       from     Defendant      FCS to    Plaintiffs

were part      of a    scheme       to    knowingly defraud             Defendant     FCS,     in

violation of 18 U.S.C.          §    1344.

                                             187.

     Plaintiffs        have     suffered              damages     proximately     caused      by

Defendants' actions.

                                             188.

     Defendants' actions showed such willful misconduct, malice,

fraud,    wantonness,    oppression, or the entire want of care as to

raise the presumption of conscious indifference to consequences

and a specific intent to cause harm.




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                                    COUNT THREE:

                                         FRAUD

                             (as to all Defendants)

                                           189.

       Plaintiffs      incorporate         Paragraphs       1-188       as     if     fully

restated herein.

                                          190.

       Defendants knowingly misrepresented the value of Lots 6 and

19   and   knowingly    concealed        from     Plaintiffs      the   true   value     of

Lots 6 and 19.

                                          191.

       Defendants    knowingly misrepresented to                  and concealed from

Plaintiffs material       facts     in connection with the documentation

of the loans from Defendant FCS to Plaintiffs.

                                          192.

       Defendant    Bosson    and    one     or    more    of    the    Southern      Group

Defendants knowingly misrepresented material facts in connection

with    the   documentation         of    the     option        transactions        between

Plaintiffs and Defendant Southern Group.

                                           193.

       Defendant    Bosson    and    one     or more       of    the    Southern     Group

Defendants    knowingly misrepresented that Plaintiffs were making

an investment that would provide a return.




                                           40
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                                             194.


       Defendant       FCS knowingly misrepresented Plaintiffs'                          incomes

and intentions with respect to Lots                          6 and 19 when documenting

the loans from FCS to Plaintiffs.

                                             195.

       One or more of the Southern Group Defendants have knowingly

concealed the whereabouts of Plaintiffs' escrow funds.

                                             196.

       One or more of the Southern Group Defendants misrepresented

to Plaintiffs that there would be new "exit strategies" put into

place to allow Plaintiffs to get out from under their loans from

FCS.

                                             197.

       Defendant       Bosson    and   one        or    more    of   the    Southern       Group

Defendants        misrepresented         to         Plaintiffs        that     their        loan

payments,    property        taxes     and        owners'      association        fees     would

continually be made from their escrow accounts.

                                             198.

       Martin,        in   the   scope       of        her   employment      by    Defendant

Warranty,        knowingly       misrepresented               that    she    had         advised

Plaintiffs       of    certain   rights       in       connection     with   their        Senior

Security Deeds.




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                                            199.


      Defendant     Bosson          knowingly         misrepresented       that       he    had

witnessed      Plaintiffs      Jose      and        Isabel's    signatures       to   certain

closing documents.

                                            200.

      Martin knowingly misrepresented that she had witnessed all

of Plaintiffs' signatures to certain closing documents.

                                            201.

      At   the   time     of Martin's          actions       described herein,           Martin

was   acting     within      the    scope      of     her    employment     by     Defendant

Warranty.

                                            202.

      Defendants Shields,           J.   Dobson and T.          Dobson, d/b/a Mortgage

Payment     Services,        LLC     knowingly            misrepresented     the      amounts

remaining of Plaintiffs' escrow funds.

                                            203.

      Defendant         J.         Dobson           has      continuously          knowingly

misrepresented      that      he    would       pay       Plaintiffs'   past       due     loan

payments owing to Defendant FCS.

                                            204.

      Plaintiffs were in a confidential relationship with one or

more of the Defendants.




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                                       205.


        Defendants knew the representations were false at the time

made.

                                       206.

        Defendants    intended to deceive         Plaintiffs   and intended to

induce     Plaintiffs to     act and for       Plaintiffs to    rely upon such

misrepresentations and concealment.

                                       207.

        Plaintiffs did act and did reasonably and justifiably rely

upon Defendants' misrepresentations and concealment.

                                       208.

        Plaintiffs    were   injured   and     suffered   damages   proximately

caused by Defendants' misrepresentations and concealment.

                                       209.

        Defendants'   actions were undertaken in bad faith,          have been

stubbornly      litigious,    and   have       caused   Plaintiff   unnecessary

trouble and expense.

                                       210.

        Defendants'   actions showed such willful misconduct, malice,

fraud,    wantonness,    oppression,    or the entire want of care as to

raise the presumption of conscious indifference to consequences

and a specific intent to cause harm.




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                                 COUNT FOUR:


                                 NEGLIGENCE


                  (as to Defendant The Haisten Group)


                                     211.

     Plaintiffs     incorporate      Paragraphs       1-210    as       if   fully

restated herein.

                                     212.

     Defendant     The   Haisten    Group     owed   Plaintiffs     a    duty   to

exercise a reasonable degree of care and competence in rendering

their business services.

                                     213.

     Defendant The Haisten Group breached its duty to Plaintiffs

by failing to ensure that the appraised values in the Lot 6 and

Lot 19 Appraisal Reports were representative of the true values

of Lots 6 and 19.

                                     214.

     Plaintiffs      suffered      damages       proximately        caused      by

Defendant's breach of duty.

                                     215.

     Defendant's actions were undertaken in bad faith,                  have been

stubbornly   litigious,    and     have     caused   Plaintiffs     unnecessary

trouble and expense.




                                      44

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                                      216.


     Defendant's actions showed such willful misconduct, malice,

fraud,   wantonness,    oppression,    or the entire want of care as to

raise the presumption of conscious indifference to consequences

and a specific intent to cause harm.

                                  COUNT FIVE:

                                  NEGLIGENCE

                (as to The Southern Group Defendants)

                                      217.

     Plaintiffs    incorporate        Paragraphs      1-216      as    if      fully

restated herein.

                                      218.

     In administering Plaintiffs'             escrow accounts,    the Southern

Group Defendants owed Plaintiffs a duty to exercise that degree

of care which every prudent man takes of his own property of a

similar nature.

                                      219.

     The   Southern      Group    Defendants      breached    their      duty     to

Plaintiffs.

                                      220.

     Plaintiffs        suffered     damages       proximately         caused     by

Defendants' breach of duty.




                                       45

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                                       221.


     Defendants'      actions were undertaken in bad faith,             have been

stubbornly     litigious,    and     have     caused   Plaintiffs      unnecessary

trouble and expense.

                                       222.

     Defendants'      actions showed such willful misconduct, malice,

fraud,   wantonness,    oppression,     or the entire want of care as to

raise the presumption of conscious indifference to consequences

and a specific intent to cause harm.

                                   COUNT SIX:


                            BREACH OF CONTRACT


                      (as to Defendant Southern Group)


                                      223.

     Plaintiffs        incorporate     Paragraphs        1-222   as     if     fully

restated herein.

                                      224.

     The     Option     Agreements     and      Escrow     Addenda     to     Option

Agreements    each    constitute     valid     contracts    between    Plaintiffs

and Defendant Southern Group.

                                      225.

     Defendant        Southern     Group's      failure     to   pay        mortgage

payments,    taxes and property owners' association fees constitute

breaches of said contracts.




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                                     226.


     Plaintiffs     have    suffered        damages   proximately     caused    by

Defendant Southern Group's breaches of said contract.

                                     227.

     Defendant's actions were undertaken in bad faith, have been

stubbornly   litigious,     and    have      caused   Plaintiffs     unnecessary

trouble and expense.

                               COUNT SEVEN:


                 VIOLATION OF O.C.G.A. § 7-7-1, et seg.


                        (as to Defendant Bosson)


                                    228.

     Plaintiffs      incorporate     Paragraphs        1-227    as    if    fully

restated herein.

                                    229.

     Defendant Bosson's made false and deceptive representations

to Plaintiffs concerning, inter alia:

     a.	   the true value of Lots 6 and 19;

     b.	   material facts in connection with the documentation of

           the loans from Defendant FCS to Plaintiffs;

     c.	   material facts in connection with the documentation of

           the     option    transactions         between      Plaintiffs      and

           Defendant Southern Group;

    d.	    that    Plaintiffs were making an investment that would

           provide a return;


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     e.	     that    Plaintiffs'            loan     payments,       property       taxes      and

             owners'     association           fees        would    continually          be   made

             from their escrow accounts.

                                             230.

     Such    representations            were        also    false     and    misleading        and

omitted    material      facts     in       the     offer     of    services        of    a   loan

broker.

                                             231.

     Defendant Bosson signed closing documents as a witness when

he did not witness the execution of same.

                                             232.

     Defendant      Bosson    had       a    notary        notarize       closing    documents

when the notary did not witness the execution of same.

                                             233.

     Defendant       Bosson      engaged            in     such    acts     and     made      such

misrepresentations which operated as a fraud and deception upon

Plaintiffs    in    connection with the                  offer of the        services         of a

loan broker.

                                             234.

     Defendant         Bosson's         acts         and     practices        employed          in

recruiting     purchasers     of    property             within     the     Development        are

unfair and deceptive.




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                                              235.


       Plaintiffs suffered damages proximately caused by Defendant

Bosson's representations, acts and practices.

                                              236.

       Defendant Bosson's actions showed such willful misconduct,

malice,      fraud,     wantonness,       oppression,         or    the     entire      want    of

care as      to   raise    the presumption of conscious indifference to

consequences and a specific intent to cause harm.

                                              237.

       Defendant       Bosson's       actions       were    undertaken       in   bad    faith,

have    been      stubbornly      litigious,          and    have      caused     Plaintiffs

unnecessary trouble and expense.

                                       COUNT EIGHT:


                                        CONVERSION


                      (as to The Southern Group Defendants)


                                              238.

       Plaintiffs         incorporate         Paragraphs           1-237     as    if     fully

restated herein.

                                              239.

       The   escrow     funds     in    the    escrow       accounts       belonged      to    and

were owned by Plaintiffs.

                                              240.

       One   or more       of   the    Southern       Group    Defendants         had    actual

possession of the escrow funds.


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                                               241.


        One or more of the Southern Group Defendants have exceeded

their     authority        with      respect     to    the     escrow     funds      and     have

wrongfully converted said funds to their own use.

                                               242.

        The value of the converted funds amounts to approximately

$28,336.70        with     respect      to     Plaintiffs       Jose    and        Isabel     and

approximately $28, 713. 63 with respect to Plaintiff Paul,                                 for a

total of $57,050.33.

                                              243.

        The Southern Group Defendants'                     actions showed such willful

misconduct, malice,            fraud,   wantonness, oppression, or the entire

want     of      care     as    to    raise      the        presumption       of    conscious

indifference        to    consequences         and     a    specific    intent       to     cause

harm.

                                              244.

        The   Southern Group Defendants'                   actions   were undertaken in

bad     faith,     have    been      stubbornly        litigious,       and    have       caused

Plaintiffs unnecessary trouble and expense.

                                        COUNT NINE:


                               MONEY HAD .AND RECEIVED


                    (as to The Southern Group Defendants)





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                                                   245.


        Plaintiffs          incorporate            Paragraphs            1-244    as    if        fully

restated herein.

                                                   246.

        One     or     more       of        the     Southern         Group       Defendants        has

Plaintiffs'          escrow       funds       in     its       possession,        and   which        in

fairness should be paid to the Plaintiffs.

                                                   247.

        In    equity       and   good       conscience,           said    Defendant (s)      is    not

enti tled      to    the    money      as    against        the    Plaintiffs      because        said

Defendant(s) would be unjustly enriched.

                                                   248.

        The escrow funds were intended to be used for the benefit

of Plaintiffs.

                                                   249.

        Said    Defendant (s)          has    not        given    the    escrow    funds     to    the

Plaintiffs.

                                                   250.

        The Southern Group Defendants'                         actions    showed such willful

misconduct, malice,              fraud,      wantonness,          oppression,      or the entire

want     of     care       as     to    raise        the         presumption      of    conscious

indifference         to     consequences           and     a     specific     intent    to    cause

harm.




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                                              251.


       The   Southern Group           Defendants'        actions   were     undertaken in

bad    faith,     have        been   stubbornly       litigious,      and      have    caused

Plaintiffs unnecessary trouble and expense.

                                           COUNT TEN:


                               BREACH OF FIDUCIARY DUTY


                       (as to The Southern Group Defendants)


                                              252.

       Plaintiffs         incorporate         Paragraphs      1-251       as     if     fully

restated herein.

                                              253.

       One   or    more        of    the    Southern      Group    Defendants         owed   a

fiduciary duty to Plaintiffs with respect to the escrow funds.

                                              254.

       One or more of the Southern Group Defendants have breached

that fiduciary duty by misappropriating the escrow funds.

                                              255.

       Plaintiffs have suffered damages proximately caused by said

breach.

                                              256.

       The Southern Group Defendants'                  actions showed such willful

misconduct, malice,            fraud,      wantonness, oppression,          or the entire

want    of      care     as     to    raise     the      presumption        of   conscious



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indifference           to    consequences       and     a    specific        intent      to    cause

harm.

                                                257.

        The   Southern Group Defendants'                    actions were undertaken in

bad     faith,     have       been     stubbornly       litigious,           and   have       caused

Plaintiffs unnecessary trouble and expense.

                                       PRAYER FOR RELIEF

        WHEREFORE,          Plaintiffs pray for the following relief against

Defendants:

        1) That    a    Summons be         issued and process              served upon         each

           Defendant;

        2) That all factual issues be resolved in a trial by jury;

        3) That     judgment          be   entered     in       favor   of    Plaintiffs        for

           actual       damages        sustained       as   a     result      of   the    actions

           described in Counts One through Ten of this Complaint;

        4)	 That    judgment         be    entered     in       favor   of    Plaintiffs         for

           treble damages as a               result of the actions described in

           Counts One and Two of this Complaint;

        5)	 That judgment be entered in favor of Plaintiffs for all

           attorneys'         fees,    costs,    and other expenses of litigation

           incurred as a result of the actions described in Counts

          One through Ten of this Complaint;




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     6)	 That     Plaintiffs        be   awarded         special    damages       including

           attorney's fees and costs pursuant to O.C.G.A.                     §   13-6-11,

           in an amount to be determined at trial;

     7)	 That     judgment     be    entered        In    favor    of     Plaintiffs    for

        punitive damages as a result of the actions described in

        Counts One through Ten of this Complaint, excluding Count

        Six;

     8)	 That Plaintiffs be awarded of actual damages,                        attorneys'

           fees   and costs and punitive damages as a                      result of the

           actions described in Count Seven of this Complaint;

     9) That judgment be entered in favor of Plaintiffs for pre­

           judgment interest;

     10)     That costs of this action be imposed upon Defendants;

        and

     11)     Such other relief as this Court deems just and proper.

                         CERTIFICATE OF COMPLIANCE

     Pursuant      to   L.R.    5.1      (C),   I        certify   this    pleading     was

prepared per L.R. 5.1(B) in Courier New,                    12~oint     typeface.

                                                            ~-
     Respectfully submitted, this               the'~~ day         of February, 2010.



                                                                          ayne, Sr.
                                                                          No. 742725
                                                                          Plaintiffs




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Richard C. Wayne & Associates, P.C.
Attorneys & Counselors at Law
Peachtree I 25 t h Building
1720 Peachtree Street NW, Suite 118
Atlanta, Georgia 30309
Telephone: (404) 231-1444
Facsimile: (404) 231-1666
Email: richard@rwaynelaw.com

                        CERTIFICATE OF SERVICE

     I hereby certify that I will personally serve the foregoing

COMPLAINT to the     following   non-CM/ECF participants by personal

service:

     Southern Group, LLC


     Southern Real Estate of Tennessee, LLC


     Travis Shields


     (individually,    and   d/b/a    Southern   Real   Estate,   Southern

     Real Estate, LLC and Mortgage Payment Services, LLC)

     Joshua Dobson

     (individually,    and   d/b/a    Southern   Real   Estate,   Southern

     Real Estate, LLC and Mortgage Payment Services, LLC)

     Thomas Dobson

     (individually,    and   d/b/a    Southern   Real   Estate,   Southern

     Real Estate, LLC and Mortgage Payment Services, LLC)

     Steven Bosson

     Rodney Bradley

     The Haisten Group, Inc ..

     Farm Credit Services of Mid-America, FLCA




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     Southern Mountain Resorts, LLC

     Warranty ~le Insurance Company, Inc.

     This~5 ~ay of February, 2010.



                                                         e, Sr .

                                                        . 742725

                                                        aintiffs


Richard C. Wayne & Associates, P.C.
Attorneys & Counselors at Law
Peachtree I 25 t h Building

1720 Peachtree Street NW, Suite 118

Atlanta, Georgia 30309

Telephone: (404) 231-1444

Facsimile: (404) 231-1666

Email: richard@rwaynelaw.com





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                                    VERIFICATION


     Personally   appeared          before             the   undersigned   officer,   duly

authorized by the     laws       of the               State of Georgia     to   administer

oaths, Plaintiffs Jose Velasquez and Maria I. Roldos, who, after

first being duly sworn,         state that the information contained in

the foregoing Summons and Complaint is true and correct.




Sworn to and subscribed
before me on this~ay
of -fibj].uI~' 2010.
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                                         VERIFICATION


        Personally         appeared      before    the   undersigned     officer,        duly

authorized          to    administer     oaths,    Plaintiff    Paul    E.    Dyer,      who,

after     first          being   duly     sworn,    states    that     the    information

contained       in       the   foregoing    Summons      and Complaint       is   true    and

correct.




                                             PAUL E. D Y E R -



Sworn to and subscribed
before me on this ' v day
of j-- -' / r r;x 1 ' 2 a 1 a .
            j   r




                                        [SEAL]
Notary Public.

My Commission expires:




    Legalisation numero 8'926 :

   Sur la base d'une comparaison de signature, la soussiqnee, VERONIQUE
   ANSERMOZ, notaire a CH - 1860 Aigle, atteste l'authenticite de la signature
   apposee ci-dessus par Paul Edward DYER, domicilie a 1854 Leysin, Leysin
   American School SA, lequel a justitie de ses kientite et signature par Ie
   production d'une piece officielle, sans se prononcer sur Ie contenu du
   document legalise.


   AIGLE, Ie douze fevrier deux mil dix.
